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                                                                                                      Response Due Date                                  ll -(S of
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                                    TENNESSEE DEPARTMENT OF CORRECTI0,1
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                                                        INMATE GRIEVANCE




                          NAME                                                         NUMBER                                         INSTITUTION & UNIT
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                       Signature of Grievant                                                                                             Date


                                                TO BE COMPLETED BY GRIEVANCE CLERK


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INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE:

AUTHORIZED EXTENSION:
                                         New Due Date                                                                      Signature of Grievant


                                                            INMATE GRIEVANCE RESPONSE
Summary of Supervisor's Response/Evidence:




Chairperson's Response and Reason(s):




DATE:                                  CHAI

Do you wish to appeal this response?                ✓                   YES                                       NO
If yes     ign, date, an return to chairman for processing within five (5) days of receipt of first-level response. -



                              ANT                                                    DATE                                               t      NESS


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           White-    3:22-cv-00620
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                               RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DE



DATE:                           a r           /I t> z      £                Please respond to the   ached rievance, indicating any action taken.
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                       White - Inmate Grievant          Canary — Warden    Pink — Grievance Committee     Goldenrod — Commissioner
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                                                INMATE GRIEVANCE RESPONSE




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Summary of Evidence and Testimony Presented to Committee             _W       4c              jz c i




Inmate Grievance Committee's Response and Reasons f7 r ~                  «          ,e~ror~~           ,rV     DGr     Q=1.       _.d ~   y
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          ZY, Z/
           DATE                                          CHAT M                                                MEMBER


                         MEMBER                                     MEMBER                                         MEMBER


Warden's Response:                 Agrees with Proposed Response

Disagrees with Proposed Response                                              ❑
If Disagrees, Reason(s) for Disagreement




If yes:     Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
            to previous res              esired.



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Commissioner's Response and Reason(sj:
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Distribution Upon Final Resolution:
                   White- Inmate Grievant Canary—Warden            Pink — Grievance Committee     Goldenrod - Commissioner
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Inmate Grievance Committee's Response and Reasons               4r~ eV0,1Ce             ~~s.,~~       ~,iV      R~~     ~~.•c •-c       `

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           DATE                                           CHAHRM                                               MEMBER
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                   MEMBER                                            MEMBER                                          MEMBER


Warden's Response:                  Agrees with Proposed Response
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Disagrees with Proposed Response                                                ❑

If Disagrees, Reason(s) for Disagreement




If yes:   Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
          to previous response,& i#se I esired.

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                           GRIEVANT                                      DATE                                  WITNESS



Commissioner's Response and Reason.(s):




          DATE                                                                                           SIGNATURE


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              Correction




  Inmate Name:             Jr                                   TDOC Number:,

  institution:          71lc.                                   Housing Unit.           C   Zt Z

  Institution Grievance Number:                                TOMIS Grievance Number:



 Commissioner's Response:




 0     Concur with Warden                 ❑ Concur with Supervisor                ❑ Appeal Denied




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              4a                                           Commissioner of Prisons

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               Department of Correction • 6th Floor Rachel Jackson Building - 320 Sixth Avenue North
               Nashville, TN 37243 - Tel: 615-253-8180 ° Fax: 615-253-1668 • tn.gov/Correction
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      Housing Location (For Inmates/Residents Only)


      Based on your own knowledge, what did you see, hear, and do?                                                                                _}

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     Signature:                                                                                                                                   Date:
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This section to be completed by oreCivic staff if the civilian/other or inmate/resident refused to complete the 5-IC.
Place an "X"            in the appropriate box: _
                       Inmate/Resident refused to complete this 5-1C
                       Civilian/Other refused to complete this 5-1C


    Employee/Witness Printed Name_                                                                              _                                   Date:

IEmployeelIWitness Signature


    Employee/Witness Printed Name                                                                                                                   Date:

    Employee/Witness Signature


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21 June 2022

                                                                                  COPY
                                                                                      DEPOSITED
                                                                                IN PRISON MAIL SYSTEM
Chris Brun, TDOC Contract Monitor of Operations
                                                                                    21 JUNE 2022
CoreCivic/Trousdale Turner Correctional Center
140 Macon Way
Hartsville, Tennessee 37074




Re:    Request for Assistance in getting my inmate grievance posted & processed


Mr. Brun:

     Enclosed is three inmate grievances I have filed. The originals appear to have fallen into a black hole
in the grievance office. My inquiries have resulted in no responses. These grievances have never been returned
to me nor have they ever have been posted on TOMIS or timely processed in any manner pursuant to policy.
    Based on the foregoing, I am requesting your assistance in ensuring these grievances are actually posted
and processed in accordance with TDOC policy, so that I can file my lawsuit in the United States District Court.
     I trust that this letter and its contents are self-explanatory. If, however, any further explanations
are required, please do not hesitate to let me know. Thank you for your anticipated cooperation.

      Sincerely,


                       JARVIS TAYLOR
                       Tenn. Dep't Corr., registration number: 387118




Enclosures:

        Case 3:22-cv-00620 Document 1-1 Filed 08/16/22 Page 10 of 18 PageID #: 21
21 June 2022

                                                                                  COPY
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                                                                               IN PRISON MAIL SYSTEM
Jon K. Walton, TDOC Contract Monitor of Compliance                                   21 JUNE 2022
CoreCivic/Trousdale Turner Correctional Center
140 Macon Way
Hartsville, Tennessee 37074




Re:    Request for Assistance in getting my inmate grievance posted & processed


Mr. Walton:

     Enclosed is three inmate grievances I have filed. The originals appear to have fallen into a black hole
in the grievance office. My inquiries have resulted in no responses. These grievances have never been returned
to me nor have they ever have been posted on TOMIS or timely processed in any manner pursuant to policy.
     Based on the foregoing, I am requesting your assistance in ensuring these grievances are actually posted
and processed in accordance with TDOC policy, so that I can file my lawsuit in the United States District Court.
     I trust that this letter and its contents are self-explanatory. If, however, any further explanations
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      Sincerely,


                       JARVIS TAYLOR
                       Tenn. Dep't Corr., registration number: 387118




Enclosures:

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                               Signature of Grievant                                                                  Date


                                                            TO BE COMPLETED BY GRIEVANCE CLERK



          Grievance Number                                       Date Received                            Signature Of Grievance Clerk


INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE:

AUTHORIZED EXTENSION:
                                                New Due Date                                              Signature of Grievant


                                                                INMATE GRIEVANCE RESPONSE
Summary of Supervisor's Response/Evidence:




Chairperson's Response and Reason(s):




DATE:                                         CHAIRPERSON.-

Do you wish to appeal this response?                                 YES                         NO
if yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.




                         GRIEVANT                                               DATE                                  WITNESS           -

Distribution Upon Final Resolution:
                Case
               White     3:22-cv-00620
                     - Inmate Grievant CanaryDocument
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                                                      Pink   Filed 08/16/22
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                                                                                                  Goldenrod    18 PageID
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                                                   INMATE GRIEVANCE                                  (continuation sheet]
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                          Signature of Grievant                                                                    Date


                                                  TO BE COMPLETED BY GRIEVANCE CLERK



          Grievance Number                                 Date Received                              Signature Of Grievance Clerk


INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE:

AUTHORIZED EXTENSION:
                                           New Due Date                                               Signature of Grievant


                                                          INMATE GRIEVANCE RESPONSE
Summary of Supervisor's Response/Evidence:




Chairperson's Response and Reason(s):




DATE:                                   CHAIRPERSON:

Do you wish to appeal this response?                            YES                         NO
If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.



                       GRIEVANT                                          DATE                                      WITNESS


Distribution Upon Final Resolution:
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                                    INMATE GRIEVANCE                  (continuation sheet)



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                           Signature of Grievant                                                               Date


                                                   TO BE COMPLETED BY GRIEVANCE CLERK



          Grievance Number                                Date Received                           Signature Of Grievance Clerk


INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE:

AUTHORIZED EXTENSION:
                                             New Due Date                                        Signature of Grievant


                                                          INMATE GRIEVANCE RESPONSE
Summary of Supervisor's Response/Evidence:




Chairperson's Response and Reason(s):




DATE:                                       CHAIRPERSON:

Do you wish to appeal this response?                          YES                      1001
If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.



                          GRIEVANT                                     DATE                                    WITNESS


Distribution Upon Final Resolution:
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